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                              UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION



In re:                                             )
                                                   )
RANDY P. COLEY,                                    )
                                                   )        Case No. 18-02154-JNC
                                                   )        Chapter 7
                                           Debtor. )
                                                   )


RICHARD D. SPARKMAN, Chapter 7 Trustee,                )
                                                       )
                Plaintiff,                             )    Adversary Proceeding
                                                       )    No. 18-00113-5-JNC
   -against-                                           )
                                                       )
ITS THUNDERTIME, LLC, a Delaware Limited               )
Liability Company; RANDY P. COLEY;                     )
KIMBERLY COLEY,                                        )
                                                       )
                Defendant.                             )



                        MOTION FOR PRELIMINARY INJUNCTION

         Richard D. Sparkman, Chapter 7 Trustee (“Trustee”) for the Bankruptcy Estate of Randy

P. Coley, hereby moves, through counsel, for the Court to allow the Trustee to administer, on a

provisional basis, the assets of Its Thundertime LLC, a Delaware Limited Liability Company

(“ITT”). The Trustee seeks provisional relief until such time as the Court determines the

Trustee’s declaratory judgment action that the assets of ITT constitute property of the bankruptcy

estate of Randy P. Coley (the “Debtor”) in the above-captioned Chapter 7 bankruptcy case. In

support of his Motion, the Trustee avers as follows:
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                                        JURISDICTION

       1.      This Court has jurisdiction over the subject matter of this motion pursuant to 28

U.S.C. § 1334(b).

       2.      Venue is proper pursuant to 28 U.S.C. § 1408.

       3.      This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                           PARTIES

       4.      Richard D. Sparkman is the duly appointed Chapter 7 trustee for the bankruptcy

estate of Randy P. Coley.

       5.      Its Thundertime LLC (“ITT”) is a Delaware Limited Liability Company that,

prior to the Debtor’s filing for bankruptcy, had its principal place of business in Wake County,

North Carolina.

       6.      Randy P. Coley is the Debtor in the above-captioned proceeding. Upon

information and belief, Mr. Coley is a resident and domiciliary of Wake County, North Carolina.

Prior to filing for bankruptcy, Mr. Coley asserted an ownership interest in ITT.

       7.      Kimberly Coley is the Debtor’s spouse. Upon information and belief, Mrs. Coley

is a resident and domiciliary of Wake County, North Carolina. At various times prior to Mr.

Coley filing for bankruptcy, Mrs. Coley asserted and denied having an ownership interest in ITT.

                             FACTS IN SUPPORT OF MOTION

       8.      In January 2014, the United States District Court for the Western District of

Virginia entered a judgment in favor of DIRECTV against the Debtor and his company, East

Coast Cablevision, LLC (“ECC”).1 The court initially awarded DIRECTV $2,393,000.00.



1
 In November, 2011, East Coast Cablevision filed for Chapter 11 bankruptcy in this Court. In re
East Coast Cablevision, LLC, 11-08976-8-RDD (Bankr. E.D.N.C.). In January 2012, the
Honorable Randy Doub transferred venue of the bankruptcy to the United States Bankruptcy


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DIRECTV subsequently obtained an award of attorneys’ fees and sanctions. According to the

proofs of claim that DIRECTV has filed, DIRECTV’s judgment against the Debtor, including

post-judgment interest, exceeded $2.6 million as of the Petition Date.

       9.      The Debtor and ECC did not appeal the orders of final judgment as to

DIRECTV’s substantive claims or the award of attorneys’ fees or sanctions.

       10.     In post-judgment proceedings before the district court, DIRECTV sought to

“reverse pierce” the corporate veil of and extend liability to several limited liability companies

that the Debtor owned.

       11.     By Order dated July 18, 2016, the district court held certain entities affiliated with

the Debtor to be alter egos of the Debtor including, without limitation, ITT

       12.     Mr. Coley appealed the district court’s rulings on the post-judgment proceedings.

Two of Mr. Coley’s LLCs, ITT and South Raleigh Air LLC, also appealed, along with Mr.

Coley’s wife, Kimberli Coley. The Fourth Circuit Court of Appeals dismissed South Raleigh Air

LLC from the appeal prior to rendering a decision in the case.

       13.     On March 28, 2018, the Fourth Circuit Court of Appeals issued an opinion that

affirmed the district court’s decision to reverse pierce the corporate veil of ITT. The appellate

court dismissed Mrs. Coley in conjunction with issuing its opinion on the merits.

       14.     On April 11, 2018, Mr. Coley and the other appellants filed a petition for

rehearing en banc. On April 24, 2018, the Fourth Circuit Court of Appeals denied the petition for

rehearing. The appellate court issued its mandate on July 16, 2018.

       15.     On April 30, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

seeking relief under chapter 11 of the Bankruptcy Code.


Court for the Western District of Virginia. 12-50041. A plan was neither proposed nor confirmed
in that bankruptcy and the bankruptcy was dismissed on June 13, 2012.


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        16.      In a filing supplementing his schedules on June 5, 2018 [Bankr. D.E. #42], the

Debtor indicated that he “recognizes and concedes that all of the assets and liabilities of Its

Thundertime, LLC, East Coast Sales, LLC, and South Raleigh Air, LLC are the assets and

liabilities of the estate” (¶ 8).

        17.      On July 16, 2018, the Court appointed Richard D. Sparkman as the Chapter 11

trustee for the Debtor’s bankruptcy estate.

        18.      On August 16, 2018, the Court converted the matter to a Chapter 7 proceeding

and appointed Mr. Sparkman as Chapter 7 Trustee.

        19.      The assets of ITT primarily consist of real estate located throughout North

Carolina. Almost all of ITT’s real properties are rented.

        20.      Among the real properties that ITT owns, ITT owns a residential property located

at 4336 Island Drive, North Topsail Beach, Onslow County, North Carolina (the “Beach

Residence”).

        21.      The Beach Residence recently suffered severe damage from Hurricane Florence,

including damage to multiple entries and water intrusion to multiple levels of the house.

        22.      Although the Beach Residence has been secured, the property is in urgent need of

further remediation in order to preserve its value. The trustee is the only party in interest

prepared to conduct such remediation.

                                      LEGAL ARGUMENT

        23.      A party seeking a preliminary injunction must demonstrate that: 1) he is likely to

succeed on the merits of its claim; 2) he is likely to suffer irreparable harm in the absence of

preliminary relief; 3) the balance of equities tips in the moving party’s favor; and 4) an

injunction is in the public interest. The Real Truth About Obama, Inc. v. Fed. Election Comm’n,




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575 F.3d. 342, 347 (4th Cir. 2009). The Trustee’s request for injunctive relief satisfies all four

criteria.

        24.    The Trustee is likely to succeed on the merits of the declaratory judgment action

in light of the prior positions taken by Debtor’s counsel regarding whether the automatic stay

should apply to protect ITT’s assets, the Debtor’s concession that the assets of ITT constitute

assets of the bankruptcy estate, and the Court’s rulings on related matters.

        25.    The Trustee is likely to suffer irreparable harm in the absence of relief. If the

Trustee is not empowered to administer the assets of ITT pending a final determination on the

Declaratory Judgment action, the bankruptcy estate is likely to diminish in value. Some of ITT’s

real estate assets, especially the Beach Residence, are in urgent need of repair.

        26.    The balance of equities tips in favor of the Trustee in light of the fact that the

Trustee is the only party situated and incentivized to maintain ITT’s assets.

        27.    An injunction is in the public interest in that an injunction will enable the Trustee

to carry out his statutory duties and will maximize the value of the Debtor’s bankruptcy estate.

        WHEREFORE, the Trustee respectfully requests that he be permitted to administer the

assets of ITT including, without limitation, renting and selling the assets, through and until a

final determination is entered concerning whether the assets of ITT are part of the Debtor’s

bankruptcy estate, and for such other and further relief as the Court deems necessary and just.




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      This the 8th day of November, 2018.


                                                /s/George F. Sanderson, III
                                                George F. Sanderson, III
                                                N.C. Bar No. 33054
                                                ELLIS & WINTERS LLP
                                                4131 Parklake Avenue, Suite 400
                                                Raleigh, NC 27612
                                                Telephone: (919) 865-7000
                                                Facsimile: (919) 865-7010
                                                george,sanderson@elliswinters.com
                                                Counsel for the Trustee for Limited
                                                Purposes




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                                     CERTIFICATE OF SERVICE

           I, George F. Sanderson III of ELLIS & WINTERS LLP hereby certify:

           That I am, and all time hereinafter mentioned was , more than eighteen (18) years of age;

           I hereby certify that on November 8, 2018, a true and correct copy of Plaintiff’s Motion

for Preliminary Injunction was served by e-mail and overnight, express mail to the following

parties:

           J.M. Cook
           J.M. Cook, P.A.
           5886 Faringdon Place, Suite 100
           Raleigh, NC 27609
           919 675-2411
           J.M.Cook@jmcookesq.com
           Attorney for the Debtor

           Danny Bradford
           Bradford Law Offices
           455 Swiftside Drive, Suite 106
           Cary, NC 27518
           Dbradford@bradford-law.com
           Attorney for Kimberli Coley

        I further certify that on November 8, 2018, a true and correct copy of Plaintiff’s Motion
for Preliminary Injunction was served by overnight, express mail to the following parties:

           Its Thundertime LLC
           c/o Kimberli M. Coley, Registered Agent
           202 Brittany Place
           Cary, NC 27511

           Randy P. Coley
           202 Brittany Place
           Cary, NC 27511

           Kimberli M. Coley
           202 Brittany Place
           Cary, NC 27511




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      This the 8th day of November, 2018.

                                                /s/George F. Sanderson, III
                                                George F. Sanderson, III
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                                                Counsel for the Trustee for Limited
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